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                                                                            UNITED STATES DISTRICT COURT
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                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                                     SAN JOSE DIVISION
                                          10
                                               TRUE INNOVATIONS, LLC, a Mauritius         )           Case No.: 10-CV-02499-LHK
For the Northern District of California




                                          11   company,                                   )
    United States District Court




                                                                                          )
                                          12                    Plaintiff,                )
                                                                                          )           ORDER RESPONDING TO NOTICE OF
                                          13         v.                                   )           SETTLEMENT
                                                                                          )
                                          14   MARCO GROUP, INC., a Missouri corporation, )
                                               and ZHEJIANG QIANGLONG CHAIR               )
                                          15   INDUSTRY CO., LTD, a Chinese company,      )
                                               Defendants.                                )
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                                          17          This case was filed on June 7, 2010. Defendants filed a Motion to Transfer Venue to the
                                          18   Western District of Missouri on August 6, 2010. See Dkt. No. 24. Defendants initially noticed the
                                          19   motion for hearing on September 16, 2010. Both the hearing and the briefing schedule have been
                                          20   continued numerous times. See Dkt. Nos. 29, 35, 36, and 39. Since September 2010, the parties
                                          21   have requested continuances for the purpose of settlement. The parties have failed to file briefs on
                                          22   November 26, 2010; December 23, 2010; and January 6, 2010.
                                          23          On December 23, 2010, the parties represented that they “have reached a settlement
                                          24   agreement, in principle, but need time to formalize their agreement.” On January 6, 2011, the
                                          25   parties represent that they have agreed to resolve the matter “informally and currently are working
                                          26   to memorialize such resolution in a final settlement agreement” and “expect to execute the final
                                          27   settlement agreement within the next week.”
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                                               Case No.: 10-CV-02499-LHK
                                               RESPONDING TO NOTICE OF SETTLEMENT
                                                   Case 5:10-cv-02499-LHK Document 42 Filed 01/07/11 Page 2 of 2



                                           1           The hearing on the Motion to Transfer Venue, currently set for January 20, 2011, will

                                           2   remain as set. Plaintiff's opposition is due Thursday, January 13, 2011; Defendants’ reply is due

                                           3   Tuesday, January 18, 2011. Any briefs filed after these dates will be disregarded by the Court.

                                           4   The Court will vacate the hearing and briefing dates only if the parties file a stipulation dismissing

                                           5   this case.

                                           6   Dated: January 7, 2011

                                           7                                                         _________________________________
                                                                                                     LUCY H. KOH
                                           8                                                         United States District Judge
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                                          10
For the Northern District of California




                                          11
    United States District Court




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                                               Case No.: 10-CV-02499-LHK
                                               RESPONDING TO NOTICE OF SETTLEMENT
